                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                          DOCKET NO. 3:17-cr-00134-FDW-DSC
 UNITED STATES OF AMERICA,                         )
                                                   )
 vs.                                               )
                                                   )                       ORDER
 CYNTHIA GILMORE,                                  )
                                                   )
         Defendant.                                )
                                                   )

       THIS MATTER is before the Court on Defendant Cynthia Gilmore’s “Objections to

Magistrate Judge’s Memorandum and Recommendation” (the “Objection”). (Doc. No. 1033).

The Memorandum and Recommendation (“M&R”) (Doc. No. 1015) entered on January 29, 2018,

by the magistrate judge recommended this Court deny Defendant’s “Motion to Suppress in

Limine” (the “Motion”) (Doc. No. 892). The Government responded in opposition to Defendant’s

Objection (Doc. No. 1093), arguing the M&R correctly recommends denial of Defendant’s Motion

to Suppress. After reviewing the briefs, testimony, and evidence presented before the magistrate

judge, for the reasons set forth, the Court OVERRULES Defendant’s Objections, ACCEPTS and

ADOPTS the M&R, and DENIES Defendant’s Motion.

                                     I. STANDARD OF REVIEW

       A district court may refer a motion to suppress to a magistrate judge for a recommendation

pursuant to Federal Rule of Criminal Procedure 59(b)(1). If a party timely files “specific written

objections” to the proposed recommendations, the “district judge must consider de novo any

objection to the magistrate judge's recommendation.” Fed. R. Crim. P. 59(b)(2)-(3); see also 28

U.S.C. § 636. The court does not perform a de novo review where a party makes only “general

and conclusory objections that do not direct the court to a specific error in the magistrate's proposed
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findings and recommendations.” Orpiano v. Johnson, 687 F.2d 44, 47 (4th Cir. 1982). Absent a

specific and timely filed objection, the court reviews only for “clear error,” and need not give any

explanation for adopting the M&R. Diamond v. Colonial Life & Accident Ins. Co., 416 F.3d 310,

315 (4th Cir. 2005); Camby v. Davis, 718 F.2d 198, 200 (4th Cir. 1983). Upon careful review of

the record, “the court may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1)(C).

                                      II. FINDINGS OF FACT

       The M&R summarizes the factual background and findings based on the evidence

presented relevant to the instant motion:

       Defendant Gilmore is charged with one count of participating in a racketeering
       conspiracy in furtherance of the Nine Trey Gangster “Hood” of the United Blood
       Nation. During the hearing, the Court heard testimony from former Raleigh Police
       Officer Ross Weatherspoon, Officer Brandon Johnson, and FBI Special Agent
       Chad Pupillo.

       On August 10, 2011 at approximately 4:00 a.m. Raleigh police officers Ross
       Weatherspoon and Brandon Johnson heard a radio transmission reporting a
       shooting and home invasion at a residential development in the vicinity of
       Woodmeadow Parkway and Sunnybrook Road. A second radio transmission
       advised that a suspect vehicle had been stopped by officers on Woodmeadow
       Parkway. Two suspects were detained at the scene and a third had fled on foot. The
       fleeing suspect was described as a black male, five feet eight or nine inches tall,
       and weighing around 150 pounds. Officers Weatherspoon and Johnson responded
       to the scene. Officer Johnson initially drove through the development in search of
       the fleeing suspect. He then joined Officer Weatherspoon who had set up a
       perimeter near the entrance to the development on Pleasant Garden Lane.

       Within approximately twenty minutes of setting up the perimeter, the officers
       observed a Nissan Ultima approaching en route to leaving the development. The
       officers flagged down the Ultima and it stopped on Pleasant Garden Lane. This was
       the first vehicle spotted by the officers since setting up the perimeter. The officers
       intended to flag down any vehicle leaving the development. They planned to ask
       the occupants of the vehicle if they had seen anyone matching the description of
       the fleeing suspect.


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       Officer Weatherspoon approached the passenger side while Officer Johnson
       approached the driver. Officer Weatherspoon observed what he described as a
       “black mass” in the back seat. He quickly realized that this was a person lying
       across the back seat of the vehicle. Officer Johnson secured both Defendant Cynthia
       Gilmore who was the driver and the front seat passenger. Officer Weatherspoon
       removed the third individual from the back seat. This individual matched the
       description of the fleeing suspect. He appeared nervous and was breathing heavily.
       His pants were wet and covered with grass and mud. A Raleigh police captain who
       was involved in the original stop of the suspect vehicle arrived and identified the
       individual from the back seat as the one who fled the scene.

       Defendant admitted to the officers that she knew the individual who was lying
       across the back seat and had picked him up from some nearby apartments. Officers
       transported Defendant to the police station for further questioning. Defendant was
       then charged with being an accessory after the fact in violation of state law.

       Officers seized Defendant’s cell phone and turned it in to the police department’s
       property section. The Raleigh Police Department Evidence Control Form indicates
       that the phone was checked into evidence that same day. Defendant’s phone was
       checked out of property along with other seized items for the trial of her co-
       defendants in state court during August and September 2012. The charges against
       Defendant were ultimately dismissed in September 2012. The evidence log shows
       that her phone remained in the Raleigh police property section until FBI agents
       obtained custody of it on October 20, 2017. On October 23, 2017, a U.S. Magistrate
       Judge in this District issued a search warrant for Defendant’s phone based upon an
       application from an FBI agent. Examination of the phone’s contents revealed a
       connection to the email address “cynthiagilmore75” as well as other self-
       identifying information relating to Defendant. Defendant has never attempted to
       claim her phone from the Raleigh Police Department.

(Doc. No. 1015, pp. 1-3.)

       Throughout the Objection, Defendant generally challenges and broadly asserts error in the

M&R’s findings of fact, arguing the M&R omits and minimizes “critical” testimony and facts.

(Doc. No. 1033, pp. 4, 5, 7.)     First, these generic objections do not trigger de novo review.

Orpiano, 687 F.2d at 47. Defendant’s arguments, instead, appear to broadly challenge the

witnesses’ credibility. “[I]t is the role of the district court to observe witnesses and weigh their

credibility during a pre-trial motion to suppress.” U.S. v. Abu Ali, 528 F.3d 210, 232 (4th Cir.


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2008). By referring the instant motion to the magistrate judge for M&R, it becomes the duty of

the magistrate judge to observe witnesses and weigh credibility. A “de novo determination is not

necessarily the same as a de novo hearing ... even as to those findings based on the magistrate's

judgment as to the credibility of the witnesses before him.” Proctor v. State Government of North

Carolina, 830 F.2d 514, 518 n. 2 (4th Cir.1987). Section 636(b) “grants the [district] judge the

broad discretion to accept, reject, or modify the magistrate's proposed findings” United States v.

Raddatz, 447 U.S. 667 at 680 (1980), and “it is unlikely that a district judge would reject a

magistrate's proposed findings on credibility when those findings are dispositive and substitute the

judge’s own appraisal.” Id. at 681 n. 7. The Court has reviewed the hearing transcript, including

testimony and evidence, and defers to and agrees with the magistrate judge’s findings of witness

credibility, as such findings are supported by the record.

       Second, the gravamen of Defendant’s objections concern the lack of an “authoritative

source” or evidence to support the findings of fact. (Doc. No. 1033, pp. 8.) Despite Defendant’s

objections, the testimony and other evidence presented during the suppression hearing supports

the findings of fact. Accordingly, finding no error, the Court hereby adopts the M&R’s findings

of fact. (Doc. No. 1015, pp. 1-3).

                                     III. CONCLUSIONS OF LAW

       In addition to general objections to the findings of fact, Defendant contends the M&R errs

by concluding her Fourth Amendment rights were not violated during the stop and subsequent

arrest. The M&R concludes the stop and subsequent arrest was appropriate under Illinois v.

Lidster, 540 U.S. 419 (2004).




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         In Lidster, the Supreme Court considered whether the Fourth Amendment barred a

highway checkpoint where police stopped motorists to ask them for information about a recent hit-

and-run accident. Lidster, 540 U.S. at 421. In light of the facts in that case, the Court held “the

police stops were reasonable, hence, constitutional.” Id. Similarly, here, the evidence showed the

officers were investigating a home invasion robbery and shooting that had taken place earlier that

night a few miles away. Officers had stopped a Durango—which matched the description of the

getaway vehicle given by a victim—and identified three of the four suspects directly involved in

the crimes. A fourth suspect fled the Durango on foot. In response, police officers set up a

perimeter around and within the immediate neighborhood where the suspect had fled in order to

contain the suspect. Officers had reason to believe this suspect was armed and dangerous because

the robbery also involved a shooting. As officers searched for the suspect who had fled, they

flagged down a car driving through the neighborhood, only a few hundred feet from where the

Durango stop occurred and where the suspect was last seen on foot. Officer Weatherspoon testified

that he would have flagged down any car he saw in order to ask whether they had seen the suspect.

Defendant’s vehicle was the only vehicle to approach the perimeter, and once the car stopped,

officers could easily observe a person lying down in the back seat. The officers testified the person

lying the back of the vehicle was crouched in a suspicious fashion and matched the description of

the suspect who had fled the Durango on foot. There is no evidence in the record that Defendant

could not have simply driven past as officers flagged her down with flashlights from the side of

the road while they were on foot. Indeed, the testimony shows the officers were not intending to

set up a road block or checkpoint.1


1
 Even were this to be considered a checkpoint, the Court finds the facts here – particularly the close proximity to the
area where the suspect had fled on foot within the previous thirty minutes – justify the stop. See City of Indianapolis
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        In Lidster, the Supreme Court recognized that in terms of an information-seeking motorist

stop, “the context here (seeking information from the public) is one in which, by definition, the

concept of individualized suspicion has little role to play. Like certain other forms of police

activity, say, crowd control or public safety, an information-seeking stop is not the kind of event

that involves suspicion, or lack of suspicion, of the relevant individual.” 540 U.S. at 424–25; see

also United States v. Johnson, 122 F. Supp. 3d 272, 375 (M.D.N.C. 2015) (“checkpoints operated

with the primary purpose of obtaining information about a crime are constitutionally valid.”). The

Court finds the investigative purpose behind the officers’ stop of Defendant’s vehicle to be

permissible.

        Once a court determines that a checkpoint's primary purpose is a permissible one, the

inquiry does not end. Lidster requires this Court to also consider the reasonableness of the

particular checkpoint in question on the basis of its individual circumstances. 540 U.S. at 426–27.

This requires balancing three factors: “the gravity of the public concerns served by the seizure, the

degree to which the seizure advances the public interest, and the severity of the interference with

individual liberty.” Id. at 427 (quoting Brown v. Texas, 443 U.S. 47, 51 (1979)). “Factors to

weigh intrusiveness include whether the checkpoint: (1) is clearly visible; (2) is part of some

systematic procedure that strictly limits the discretionary authority of police officers; and (3)



v. Edmond, 531 U.S. 32, 44 (2000) (“[T]he Fourth Amendment would almost certainly permit an appropriately tailored
roadblock set up to thwart an imminent terrorist attack or to catch a dangerous criminal who is likely to flee by way
of a particular route.”); see also United States v. Whitehead, 567 F. App’x 758, 767 (11th Cir. 2014) (unpublished)
(per curiam) (approving perimeter checkpoint where “[t]he perpetrator [] was an armed and dangerous criminal, who
had—minutes before—successfully robbed” a bank and “[l]aw enforcement knew that the robber had fled the area on
foot, and there was a real risk that, to complete his escape, he would need a get-away vehicle and that someone could
be harmed in his attempt to gain access to that vehicle”); United States v. Abbott, 265 F. App’x 307, 309 (5th Cir.
2008) (unpublished) (per curiam) (roadblock permissible where officers were able to “narrow their search to a
relatively small area in which there was a high likelihood of apprehending the suspects” involved in an armed bank
robbery).
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detains drivers no longer than is reasonably necessary to accomplish the purpose of checking a

license and registration, unless other facts come to light creating a reasonable suspicion of criminal

activity.” U.S. v. Henson, 351 F. App'x 818, 821 (4th Cir. 2009).

       Here, a balancing of these factors clearly weighs in favor of the Government. The gravity

of the public’s concerns served by the stop included the officers’ goal to obtain information

regarding the whereabouts of a potentially armed suspect within a residential community at 4 a.m.

in the morning. The stop also advanced the public interest in apprehending the suspect. As to the

third factor, the severity of the interference was minimal, in that officers intended to stop any

passing motorist in the visible road way for a short time to inquire about whether motorists had

seen the suspect. Here, officers had barely engaged in the stop of Defendant’s vehicle when they

observed a suspicious person hiding in the back seat of her car.

       For these reasons, the Court finds the evidence shows the officers’ stop of Defendant’s

vehicle under these facts was for information gathering purposes and was reasonable. Further, the

person matching the suspect description and attempting to hide in the back seat justified the

officers’ actions following the stop. See Henson, 351 F. App'x at 821; United States v. Lopez, 777

F.2d 543, 547 (10th Cir.1985) (“The law does not require the police to ignore evidence of other

crimes in conducting legitimate roadblocks[ .]”).

       Finally, Defendant also asserts error in the M&R’s conclusion that the Government

sufficiently authenticated the chain of custody for the phone seized from Defendant during the

August 2011 arrest. The M&R and the parties cite to Federal Rule of Evidence 901.

       Under Rule 901, “[t]o satisfy the requirement of authenticating or identifying an
       item of evidence, the proponent must produce evidence sufficient to support a
       finding that the item is what the proponent claims it is.” Fed. R. Evid. 901(a). It is
       up to the jury to decide “whether evidence is that which the proponent claims.”
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       U.S. v. Vidacak, 553 F.3d 344, 349 (4th Cir. 2009). It is “[t]he district court's role
       . . . to serve as gatekeeper in assessing whether the proponent has offered a
       satisfactory foundation from which the jury could reasonably find that the evidence
       is authentic.” Id. “The burden to authenticate under Rule 901 is not high—only a
       prima facie showing is required.” Id.

U.S. v. Kaixiang Zhu, 854 F.3d 247, 257 (4th Cir. 2017). The Supreme Court has made clear,

“[T]he interests at stake in a suppression hearing are of a lesser magnitude than those in the

criminal trial itself. At a suppression hearing, the court may rely on hearsay and other evidence,

even though that evidence would not be admissible at trial.” U.S. v. Raddatz, 447 U.S. 667, 679,

100 S. Ct. 2406, 2414, 65 L. Ed. 2d 424 (1980) (citations omitted); see also Fed. R. Evid. 104(a),

1101(d)(1). Thus, Defendant’s arguments as to “authenticity” are insufficient to show error by

considering the challenged evidence at the suppression hearing or in the M&R. The Court finds

no error in the M&R’s conclusion, “The Government has produced the Raleigh Police Department

Evidence Control Form identifying Defendant’s phone and documenting the chain of custody.”

(Doc. No. 1015, p. 6.) To the extent Defendant’s motion to suppress attempted to also assert a

motion in limine to exclude the mobile phone from evidence at trial based on this authenticity

argument, the Court denies that portion of Defendant’s motion without prejudice to reassert such

argument in a separate motion prior to or at trial.

                                         IV. CONCLUSION

       A full and careful review of the M&R and other documents of record convinces the court

that the recommendation of the magistrate judge is, in all respects, in accordance with the law and

should be approved. Accordingly, the court adopts the M&R (Doc. No. 1015) except to the extent

this Order supplements and/or modifies the reasoning, OVERRULES Defendant’s Objection

(Doc. No. 1033), and DENIES Defendant’s Motion to Dismiss (Doc. No. 892).


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      IT IS THEREFORE ORDERED that Defendant’s “Motion to Dismiss and in Limine”

(Doc. No. 892) is DENIED.

      IT IS SO ORDERED.

                                   Signed: April 10, 2018




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